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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division



   DAVID WILLIAM WOOD,
                          Plaintiff,
                                                               Civil No. 3:15-cv-00594-MHL
   v.

   CREDIT ONE BANK, N.A.,
                         Defendant.

                    DEFENDANT CREDIT ONE BANK’S EXHIBIT LIST

        Defendant Credit One Bank (“Credit One”), by counsel and pursuant to the Court’s Order

dated October 12, 2017 (ECF No. 101), and the parties’ consent motion dated December 8, 2017,

provides the following revised list of proposed exhibits. This list may change subject to (1) the

Court’s rulings on the parties’ motions in limine; and (2) Plaintiff’s proof at trial. For those

reasons, Credit One does not necessarily intend to offer all of these exhibits, nor does it contend

that all of them will necessarily be relevant. Subject to those caveats, this list represents Credit

One’s best efforts to estimate (as of the date of this filing) all of the exhibits on which it might rely

at trial (with the exception, per the Court’s Initial Pretrial Order (ECF No. 29), of exhibits that will

be used solely for purposes of impeachment).

  EXHIBIT                         DOCUMENT                                    BATES
    NO.                                                                NUMBER/IDENTIFIER
     1           Letter from Plaintiff to Credit One 11-4-14          COB00042

        2        Letter from Credit One to Plaintiff 11-28-14         COB00043

        3        Letter from Plaintiff to Credit One 12-9-14          COB00044

        4        Letter from Credit One to Plaintiff 1-12-15          COB00045

        5        ACDV Response 4-28-15                                COB00048-COB00050
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      6        ACDV Response 4-28-15                             COB00051-COB00052

      7        ACDV Response 5-5-15                              COB00053-COB00054

      8        ACDV Response 6-10-15                             COB00055-COB00056

      9        ACDV Response 6-15-15                             COB00057-COB00058

      10       Phone records regarding communications with       COB00059-COB00065
               Plaintiff
      11       ACDV Research by A. Chu                           COB04163-COB04165

      12       2011 Consumer Credit Reporting Resource           COB0060-COB00316
               Guide
      13       2017 Consumer Credit Reporting Resource           COB04168-COB04172
               Guide Compliance Condition Code
               Clarification
      14       Credit One Bank Compliance Program and            COB00317-COB00359
               Policy Manual, FCRA Policy
      15       Credit One Bank Customer Service Procedure        COB00361-COB00419
               Manual – Back Office – E-Oscar ACDVs &
               AUD (version 1.2 dated 3/17/15)
      16       Credit One Bank Customer Service Procedural       COB00791-COB01119
               Manual – Telephones
      17       Credit One Bank Customer Service Procedural       COB01952-COB02139
               Manual – Back Office – Fraud
      18       Copy of Fraud Affidavit to David Wood             COB04173-COB04175

      19       West Point Police Department Incident Report      COB04157-COB04158

      20       Affidavit of Sergeant Woodson1                    ECF No. 68-5

      21       Affidavit of K. Schumacher                        ECF No. 68-13

      22       Experian Authentication Affidavit dated 6-3-      N/A
               16
      23       Fraud alert notification from Experian dated 6-   EXPWOOD_SUBP_0000107-
               25-14                                             EXPWOOD_SUBP_0000128
      24       Fraud alert notification from Trans Union         Wood v. Equifax, et al Exhibit
               dated 4-29-15                                     #000036-#000051

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  Credit One anticipates that Sergeant Woodson and Ms. Schumacher will testify in person, and
therefore their affidavits will not be necessary. However, out of an abundance of caution, Credit
One has designated these exhibits in the event it becomes apparent that either witness is
unavailable.

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     25       Credit report of David Wood dated 10-27-14    EXPWOOD_0000067-
                                                            EXPWOOD_0000086
     26       Sample Fraud Affidavit and Cover Letter       COB004160-COB004162



Dated: December 8, 2017                         Respectfully submitted,


                                                CREDIT ONE BANK

                                                _________/s/_____________
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